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10   UNITED STATES OF AMERICA

11
                            UNITED STATES DISTRICT COURT
12
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
     UNITED STATES OF AMERICA,               No. CR 20-522-MWF
14
               Plaintiff,                    ORDER CONTINUING TRIAL DATE AND
15                                           FINDINGS REGARDING EXCLUDABLE TIME
                     v.                      PURSUANT TO SPEEDY TRIAL ACT
16
     FONTRELL ANTONIO BAINES,                TRIAL: 07-12-22 at 8:30 a.m.
17     aka “Nuke Bizzle,”                    STATUS CONF: 06-13-22 at 1:30 p.m.
18             Defendant.

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20        The Court has read and considered the Stipulation Regarding
21   Request for (1) Continuance of Trial Date and (2) Findings of
22   Excludable Time Pursuant to the Speedy Trial Act, filed by the
23   parties in this matter on April 12, 2022.        The Court hereby finds
24   that the Stipulation, which this Court incorporates by reference into
25   this Order, demonstrates facts that support a continuance of the
26   trial date in this matter, and provides good cause for a finding of
27   excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.
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 1         The Court further finds that: (i) the ends of justice served by

 2   the continuance outweigh the best interest of the public and

 3   defendant in a speedy trial; (ii) failure to grant the continuance

 4   would be likely to make a continuation of the proceeding impossible,

 5   or result in a miscarriage of justice; and (iii) failure to grant the

 6   continuance would unreasonably deny defendant continuity of counsel

 7   and would deny defense counsel the reasonable time necessary for

 8   effective preparation, taking into account the exercise of due

 9   diligence.

10         THEREFORE, FOR GOOD CAUSE SHOWN:

11         1.     The trial in this matter is continued from May 10, 2022, to

12   July 12, 2022 at 8:30 a.m.      A status conference hearing is set for

13   June 13, 2022 at 1:30 p.m.

14         2.     The time period of May 10, 2022, to July 12, 2022,

15   inclusive, is excluded in computing the time within which the trial

16   must commence, pursuant to 18 U.S.C. § 3161(h)(7)(A), (B)(i), and

17   (B)(iv).

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 1        3.     Nothing in this Order shall preclude a finding that other

 2   provisions of the Speedy Trial Act dictate that additional time

 3   periods are excluded from the period within which trial must

 4   commence.    Moreover, the same provisions and/or other provisions of

 5   the Speedy Trial Act may in the future authorize the exclusion of

 6   additional time periods from the period within which trial must

 7   commence.

 8        IT IS SO ORDERED.

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10    April 12, 2022
      DATE                                 THE HONORABLE MICHAEL W. FITZGERALD
11                                         UNITED STATES DISTRICT JUDGE
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14   Presented by:
15       /s/
     ALEXANDER B. SCHWAB
16   Assistant United States Attorney
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